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                          EXHIBIT 1
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

                                    )
  PELOTON INTERACTIVE, INC.,        )
                                    )
             Plaintiff,             )
                                    )                        C.A. No. 19-1903-RGA
       v.                           )
                                    )
  ECHELON FITNESS MULTIMEDIA LLC, )
  ECHELON FIT, LLC, ECHELON STUDIO, )
  LLC    AND     VIATEK  CONSUMER )
  PRODUCTS GROUP, INC.              )
                                    )
             Defendants.            )


        DEFENDANT ECHELON FITNESS MULTIMEDIA LLC’S OBJECTIONS
         AND RESPONSES TO PLAINTIFF PELOTON INTERACTIVE, INC.’S
           SIXTH SET OF REQUESTS FOR PRODUCTION (NOS. 215-295)

          Pursuant to Federal Rules of Civil Procedure 26 and 34, Defendant Echelon Fitness

 Multimedia, LLC (“Echelon”) hereby objects and responds to the Sixth Set of Requests for

 Production (Nos. 215-295) (collectively, “the Requests”) from Plaintiff Peloton Interactive, Inc.

 (“Peloton”) as follows.


                PRELIMINARY RESPONSE AND GENERAL OBJECTIONS

        1.      Echelon has responded to the Requests without waiving or intending to waive any

 objection to the competency, relevancy or admissibility as evidence of any document. Echelon

 expressly reserves the right to object to further discovery of the subject matter of any Request, and

 the introduction into evidence of any document produced in response to a Request.

        2.      Echelon reserves the right to amend, supplement, clarify or otherwise modify its

 objections and responses to the Requests.




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 in the definition for ECHELON STATEMENTS. Echelon further objects to this Request as

 duplicative of other Requests. Echelon further objects to this Request’s demand for “[a]ll

 DOCUMENTS related to” as overbroad, unduly burdensome, and disproportionate to the needs of

 the case. Echelon further objects to the request as improperly seeking expert testimony. Further,

 Echelon objects to this Request as it is premature and imposes an obligation inconsistent with the

 Federal Rules of Civil Procedure, the Local Civil Rules for the District of Delaware, and the

 Scheduling Order entered in this action. Still further, Echelon objects to this Request to the extent

 it seeks documents protected from disclosure by the attorney-client privilege or work product

 doctrine.

         Subject to the foregoing general and specific objections, Echelon will produce non-

 privileged, relevant, responsive documents in its possession, custody, and control, if any, which

 can be located pursuant to a reasonably-diligent search concerning damages relating to the issues

 in the case.


 REQUEST NO. 224:

 All DOCUMENTS related to the advertised price of each of the ECHELON ACCUSED
 INSTRUMENTALITIES, including the advertised price of each individually sold part of the
 ECHELON ACCUSED INSTRUMENTALITIES, such as the bike, the display screen, and the
 subscription to ECHELON’s digital services.

 RESPONSE TO REQUEST NO. 224:

         Echelon objects to this Request’s demand for “[a]ll DOCUMENTS related to” as

 overbroad, unduly burdensome, and disproportionate to the needs of the case. Echelon objects to

 the defined term “Echelon Accused Instrumentalities” as being overbroad and seeking information

 irrelevant to the claims and defenses in this case because it is defined to include (i) “methods of

 manufacturing” and (ii) products that have not been accused of infringement in this action.

 Echelon further objects to the request as improperly seeking expert testimony. Still further,


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 Echelon objects to this Request to the extent it seeks documents protected from disclosure by the

 attorney-client privilege or work product doctrine. In addition, Echelon objects to “subscription”

 as vague and ambiguous.

        Subject to the foregoing general and specific objections, Echelon will produce non-

 privileged, relevant, responsive documents in its possession, custody, and control, if any, which

 can be located pursuant to a reasonably-diligent search sufficient to show the advertised price of

 the ECHELON ACCUSED INSTRUMENTALITIES.


 REQUEST NO. 225:

 All DOCUMENTS related to YOUR decision not to include a display screen in the advertised
 price of the ECHELON ACCUSED INSTRUMENTALITIES, including the Echelon Smart
 Connect EX3 Max Bike as shown on Paragraph 98 of the Second Amended Complaint (D.I. 77).

 RESPONSE TO REQUEST NO. 225:

        Echelon objects to this Request’s demand for “[a]ll DOCUMENTS related to” as

 overbroad, unduly burdensome, and disproportionate to the needs of the case. Further, Echelon

 objects to this Request to the extent it seeks documents protected from disclosure by the attorney-

 client privilege or work product doctrine. Still further, Echelon objects to the defined term

 “Echelon Accused Instrumentalities” as being overbroad and seeking information irrelevant to the

 claims and defenses in this case because it is defined to include (i) “methods of manufacturing”

 and (ii) products that have not been accused of infringement in this action. Echelon further objects

 to the phrase “YOUR decision not to include a display screen in the advertised price” as vague,

 ambiguous, and untrue.

        Subject to the foregoing general and specific objections, Echelon states that there are no

 documents responsive to this Request in its possession, custody or control. Specifically, the

 advertisement Peloton includes in paragraph 98 of the Second Amended Complaint is not



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        Subject to the foregoing general and specific objections, Echelon will produce non-

 privileged, relevant, responsive documents in its possession, custody, and control, obtained

 through subpoena.


 REQUEST NO. 275:

 All DOCUMENTS, including customer inquiries, concerning YOUR decision to market and sell
 the ECHELON ACCUSED INSTRUMENTALITIES separately from YOUR membership, as
 shown below.




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 RESPONSE TO REQUEST NO. 275:

        Echelon objects to this Request as seeking information that lacks relevance to the claims

 and defenses in the present action, as the advertisements shown above are not alleged to be false

 or misleading by Peloton in its Second Amended Complaint. Echelon also objects to the phrase

 “YOUR decision to market and sell the ECHELON ACCUSED INSTRUMENTALITIES

 separately from YOUR membership” as Echelon is selling both the bike and a membership in each


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 advertisement shown above and in the Second Amended Complaint. Echelon further objects to

 the Request’s demand for “[a]ll DOCUMENTS” regarding the subject matter of the Request as

 overbroad, unduly burdensome, and disproportionate to the needs of the case. Further, Echelon

 objects to the defined term “Echelon Accused Instrumentalities” as being overbroad and seeking

 information irrelevant to the claims and defenses in this case because it is defined to include

 (i) “methods of manufacturing” and (ii) products that have not been accused of infringement in

 this action. Echelon further objects to this Request to the extent it seeks documents protected from

 disclosure by the attorney-client privilege or work product doctrine. Still further, Echelon objects

 to this Request to the extent it seeks confidential, proprietary, or trade secret information regarding

 its competitive efforts, and/or products and services and will not provide such information where

 any purported marginal benefits of production of the requested information are outweighed by the

 burden or risk associated with producing such highly sensitive materials.

        In view of the foregoing general and specific objections, Echelon does not intend to

 produce documents responsive to this Request.


 REQUEST NO. 276:

 All DOCUMENTS related to YOUR decision to market and sell the ECHELON ACCUSED
 INSTRUMENTALITIES separately from YOUR membership, including DOCUMENTS related
 to whether this practice has the tendency to deceive or influence the purchasing decision of any
 PERSON.

 RESPONSE TO REQUEST NO. 276:

        Echelon objects to this Request’s demand for “[a]ll DOCUMENTS related to” as

 overbroad, unduly burdensome, and disproportionate to the needs of the case. Echelon also objects

 to the phrase “YOUR decision to market and sell the ECHELON ACCUSED

 INSTRUMENTALITIES separately from YOUR membership” as Echelon is selling both the bike

 and a membership in each advertisement shown above and in the Second Amended Complaint.


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 Echelon further objects to the defined term “Echelon Accused Instrumentalities” as being

 overbroad and seeking information irrelevant to the claims and defenses in this case because it is

 defined to include (i) “methods of manufacturing” and (ii) products that have not been accused of

 infringement in this action. Echelon further objects to the Request in that it states “YOUR decision

 to market and sell the ECHELON ACCUSED INSTRUMENTALITIES separately from YOUR

 membership” as misleading because Echelon’s bike packages include some sort of monthly

 subscription. Still further, Echelon objects to this Request to the extent it seeks confidential,

 proprietary, or trade secret information regarding its competitive efforts, and/or products and

 services and will not provide such information where any purported marginal benefits of

 production of the requested information are outweighed by the burden or risk associated with

 producing such highly sensitive materials.

        In view of the foregoing general and specific objections, Echelon does not intend to

 produce documents responsive to this Request.


 REQUEST NO. 277:

 All DOCUMENTS related to any customer confusion or deception as a result of YOUR decision
 to market and sell the ECHELON ACCUSED INSTRUMENTALITIES separately from YOUR
 membership.

 RESPONSE TO REQUEST NO. 277:

        Echelon objects to this Request’s demand for “[a]ll DOCUMENTS related to any

 confusion or deception” as overbroad, unduly burdensome, and disproportionate to the needs of

 the case. Echelon also objects to the phrase “YOUR decision to market and sell the ECHELON

 ACCUSED INSTRUMENTALITIES separately from YOUR membership” as Echelon is selling

 both the bike and a membership in each advertisement shown above. Echelon further objects to

 the defined term “Echelon Accused Instrumentalities” as being overbroad and seeking information



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 irrelevant to the claims and defenses in this case because it is defined to include (i) “methods of

 manufacturing” and (ii) products that have not been accused of infringement in this action.

 Echelon further objects to the Request in that it states “YOUR decision to market and sell the

 ECHELON ACCUSED INSTRUMENTALITIES separately from YOUR membership” as

 misleading because Echelon’s bike packages include some sort of monthly subscription.

        In view of the foregoing general and specific objections, Echelon does not intend to

 produce documents responsive to this Request.



 REQUEST NO. 278:

 All DOCUMENTS related to any change in customer retention rates as a result of YOUR decision
 to market and sell the ECHELON ACCUSED INSTRUMENTALITIES separately from YOUR
 membership.

 RESPONSE TO REQUEST NO. 278:

        Echelon objects to this Request’s demand for “[a]ll DOCUMENTS related to” as

 overbroad, unduly burdensome, and disproportionate to the needs of the case. Echelon also objects

 to the phrase “YOUR decision to market and sell the ECHELON ACCUSED

 INSTRUMENTALITIES separately from YOUR membership” as Echelon is selling both the bike

 and a membership in each advertisement shown above and in the Second Amended Complaint.

 Echelon further objects to the defined term “Echelon Accused Instrumentalities” as being

 overbroad and seeking information irrelevant to the claims and defenses in this case because it

 defined to include (i) “methods of manufacturing” and (ii) products that have not been accused of

 infringement in this action. Echelon further objects to Request in that it states “YOUR decision to

 market and sell the ECHELON ACCUSED INSTRUMENTALITIES separately from YOUR

 membership” as misleading because Echelon’s bike packages include some sort of monthly

 subscription. Still further, Echelon objects to this Request to the extent it seeks confidential,


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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

                                     )
   PELOTON INTERACTIVE, INC.,        )
                                     )
              Plaintiff,             )
                                     )                        C.A. No. 19-1903-RGA
        v.                           )
                                     )
   ECHELON FITNESS MULTIMEDIA LLC, )
   ECHELON FIT, LLC, ECHELON STUDIO, )
   LLC    AND     VIATEK  CONSUMER )
   PRODUCTS GROUP, INC.              )
                                     )
              Defendants.            )


         DEFENDANT ECHELON FITNESS MULTIMEDIA LLC’S OBJECTIONS
          AND RESPONSES TO PLAINTIFF PELOTON INTERACTIVE, INC.’S
           EIGHTH SET OF REQUESTS FOR PRODUCTION (NOS. 306-318)

           Pursuant to Federal Rules of Civil Procedure 26 and 34, Defendant Echelon Fitness

  Multimedia, LLC (“Echelon”) hereby objects and responds to the Eighth Set of Requests for

  Production (Nos. 306-318) (collectively, “the Requests”) from Plaintiff Peloton Interactive, Inc.

  (“Peloton”) as follows.


                 PRELIMINARY RESPONSE AND GENERAL OBJECTIONS

         1.      Echelon has responded to the Requests without waiving or intending to waive any

  objection to the competency, relevancy or admissibility as evidence of any document. Echelon

  expressly reserves the right to object to further discovery of the subject matter of any Request, and

  the introduction into evidence of any document produced in response to a Request.

         2.      Echelon reserves the right to amend, supplement, clarify or otherwise modify its

  objections and responses to the Requests.




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                           SPECIFIC OBJECTIONS AND RESPONSES

  REQUEST NO. 306:

  All DOCUMENTS produced by YOU in the litigation filed by PELOTON, Peloton Interactive
  UK Limited, and Peloton Interactive Deutschland GmbH against Echelon Fitness, Echelon
  Multimedia, Viatek, and Echelon Fitness UK Limited in the United Kingdom, Case No. IL-2020-
  000074, currently pending before the High Court of Justice.


  RESPONSE TO REQUEST NO. 306:

          Echelon incorporates by reference its General Objections. Echelon objects to this Request

  as overbroad, unduly burdensome, and disproportionate to the needs of the case. Echelon further

  objects to this as an improper attempt to circumvent the ESI procedures set forth in Paragraph 3 of

  the parties’ Cross-Use Agreement. Still further, Echelon objects to this Request as seeking

  irrelevant information insofar as the claims, defenses, and legal standards differ between the instant

  action and UK proceeding.          Echelon additionally objects to this Request as an improper

  “piggyback” discovery request. See, e.g., Racing Optics v. Aevoe Corp., No. 2:15-CV-1774-RCJ-

  VCF, 2016 WL 4059358, at *1 (D. Nev. July 28, 2016) (“‘Piggyback’ discovery requests are

  prohibited. [Plaintiff] must specifically ask for the documents he wants and be able to demonstrate

  that the information he seeks is relevant to his claims in this case. The fact that [Defendant]

  produced certain documents in the [other] cases does not necessarily make them discoverable in

  this case.”) (citation omitted).


  REQUEST NO. 307:

  All DOCUMENTS concerning the design, development, testing, manufacturing, sale, and
  marketing of the Echelon GT+ Connect Bike.

  RESPONSE TO REQUEST NO. 307:

          Echelon incorporates by reference its General Objections. Echelon objects to this Request

  as overbroad, unduly burdensome, seeking irrelevant information, and disproportionate to the

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  needs of the case. Echelon further objects to this Request as overbroad and unduly burdensome

  insofar as it seeks “All DOCUMENTS” concerning the stated subject matter, particularly at this

  stage in discovery when the parties have completed ESI discovery and substantially completed

  document production.     Still further, Echelon objects to this Request to the extent it seeks

  documents protected from disclosure by the attorney-client privilege or work product doctrine.

  Finally, Peloton’s demand for the information sought by this Request is contrary to the

  representations it made in its November 30, 2021 letter to the Court, when Peloton opposed

  extending the discovery schedule on the basis that the additional discovery it needed with respect

  to the new accused products was limited to source code, core technical documents concerning

  rowers and treadmills, and updated financial information.

         Subject to the foregoing general and specific objections, Echelon will supplement its

  financial disclosures, at a time agreed-upon by the parties, with information concerning the GT+

  Connect Bikes.


  REQUEST NO. 308:

  All DOCUMENTS concerning the design, selection, adoption, and use of the GT+ TRADE
  DRESS, including the selection of the color schemes for this bike.

  RESPONSE TO REQUEST NO. 308:

         Echelon incorporates by reference its General Objections. Echelon objects to this Request

  as seeking information irrelevant to the claims and defenses in this action, and disproportionate to

  the needs of the case, because the GT+ TRADE DRESS has not been accused of infringement in

  this action. Echelon also objects to the defined term “GT+ TRADE DRESS” as being vague and

  ambiguous insofar as it refers to the “look and feel” of the bike and references the undefined terms

  “ECHELON TRADEMARKS” and “GT+ mark.” Echelon further objects to this Request as

  overbroad and unduly burdensome insofar as it seeks “All DOCUMENTS” concerning the design,
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  selection, adoption, and use of the GT+ TRADE DRESS, particularly at this stage in discovery

  when the parties have completed ESI discovery and substantially completed document production.

  Still further, Echelon objects to this Request to the extent it seeks documents protected from

  disclosure by the attorney-client privilege or work product doctrine. Finally, Peloton’s demand

  for the information sought by this Request is contrary to the representations it made in its

  November 30, 2021 letter to the Court, when Peloton opposed extending the discovery schedule

  on the basis that the additional discovery it needed with respect to the new accused products was

  limited to source code, core technical documents concerning rowers and treadmills, and updated

  financial information.

         Subject to the foregoing general and specific objections, Echelon will supplement its

  financial disclosures, at a time agreed-upon by the parties, with information concerning the GT+

  Connect Bikes.


  REQUEST NO. 309:

  All DOCUMENTS concerning the clearance of the GT+ TRADE DRESS, including any search
  reports related thereto.

  RESPONSE TO REQUEST NO. 309:

         Echelon incorporates by reference its General Objections. Echelon objects to this Request

  as seeking information irrelevant to the claims and defenses in this action, and disproportionate to

  the needs of the case, because the GT+ TRADE DRESS has not been accused of infringement in

  this action. Echelon also objects to the defined term “GT+ TRADE DRESS” as being vague and

  ambiguous insofar as it refers to the “look and feel” of the bike and references the undefined terms

  “ECHELON TRADEMARKS” and “GT+ mark.” Echelon further objects to this Request as

  overbroad and unduly burdensome insofar as it seeks “All DOCUMENTS” concerning the

  clearance of the GT+ TRADE DRESS, particularly at this stage in discovery when the parties have
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  completed ESI discovery and substantially completed document production. Still further, Echelon

  objects to this Request to the extent it seeks documents protected from disclosure by the attorney-

  client privilege or work product doctrine. Finally, Peloton’s demand for the information sought

  by this Request is contrary to the representations it made in its November 30, 2021 letter to the

  Court, when Peloton opposed extending the discovery schedule on the basis that the additional

  discovery it needed with respect to the new accused products was limited to source code, core

  technical documents concerning rowers and treadmills, and updated financial information.



  REQUEST NO. 310:

  All DOCUMENTS concerning the similarities and differences between the ECHELON TRADE
  DRESS and the GT+ TRADE DRESS.

  RESPONSE TO REQUEST NO. 310:

         Echelon incorporates by reference its General Objections. Echelon objects to this Request

  as seeking information irrelevant to the claims and defenses in this action, and disproportionate to

  the needs of the case, because the GT+ TRADE DRESS has not been accused of infringement in

  this action. Echelon also objects to the defined term “GT+ TRADE DRESS” as being vague and

  ambiguous insofar as it refers to the “look and feel” of the bike and references the undefined terms

  “ECHELON TRADEMARKS” and “GT+ mark.” Echelon additionally objects to this Request as

  unreasonably duplicative and cumulative of other Requests seeking documents concerning the

  ECHELON TRADE DRESS.              Echelon objects to this Request as unduly burdensome and

  disproportionate to the needs of the case because the similarities and differences of the appearance

  of the Echelon bikes are apparent from information that is publicly-available or in the possession

  of Peloton. Echelon further objects to this Request as overbroad and unduly burdensome insofar

  as it seeks “All DOCUMENTS” concerning the similarities and differences between the

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  ECHELON TRADE DRESS and the GT+ TRADE DRESS, particularly at this stage in discovery

  when the parties have completed ESI discovery and substantially completed document production.

  Still further, Echelon objects to this Request to the extent it seeks documents protected from

  disclosure by the attorney-client privilege or work product doctrine. Finally, Peloton’s demand

  for the information sought by this Request is contrary to the representations it made in its

  November 30, 2021 letter to the Court, when Peloton opposed extending the discovery schedule

  on the basis that the additional discovery it needed with respect to the new accused products was

  limited to source code, core technical documents concerning rowers and treadmills, and updated

  financial information.



  REQUEST NO. 311:

  All DOCUMENTS concerning the similarities and differences between the PELOTON BIKE
  TRADE DRESS and the GT+ TRADE DRESS.

  RESPONSE TO REQUEST NO. 311:

         Echelon incorporates by reference its General Objections. Echelon objects to this Request

  as seeking information irrelevant to the claims and defenses in this action, and disproportionate to

  the needs of the case, because the GT+ TRADE DRESS has not been accused of infringement in

  this action. Echelon also objects to the defined term “GT+ TRADE DRESS” as being vague and

  ambiguous insofar as it refers to the “look and feel” of the bike and references the undefined terms

  “ECHELON TRADEMARKS” and “GT+ mark.” Echelon objects to this Request as unduly

  burdensome and disproportionate to the needs of the case because the similarities and differences

  of the appearance of the Peloton Bike and GT+ bikes are apparent from information that is

  publicly-available or in the possession of Peloton. Echelon further objects to this Request as

  overbroad and unduly burdensome insofar as it seeks “All DOCUMENTS” concerning the

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  similarities and differences between the ECHELON TRADE DRESS and the GT+ TRADE

  DRESS, particularly at this stage in discovery when the parties have completed ESI discovery and

  substantially completed document production. Still further, Echelon objects to this Request to the

  extent it seeks documents protected from disclosure by the attorney-client privilege or work

  product doctrine. Finally, Peloton’s demand for the information sought by this Request is contrary

  to the representations it made in its November 30, 2021 letter to the Court, when Peloton opposed

  extending the discovery schedule on the basis that the additional discovery it needed with respect

  to the new accused products was limited to source code, core technical documents concerning

  rowers and treadmills, and updated financial information.



  REQUEST NO. 312:

  All DOCUMENTS concerning YOUR decision, including all reasons thereof, to stop marketing
  the EX-3 Smart Connect Bike on YOUR homepage (see https://echelonfit.com/pages/connect-
  bikes).

  RESPONSE TO REQUEST NO. 312:

         Echelon incorporates by reference its General Objections. Echelon objects to this Request

  as seeking information irrelevant to the claims and defenses in this action, and disproportionate to

  the needs of the case. Echelon also objects to the defined term YOUR as seeking information

  outside od Echelon’s possession, custody, or control. Echelon further objects to this Request as

  overbroad and unduly burdensome insofar as it seeks “All DOCUMENTS” concerning the

  purported decision to stop marketing the EX-3 Smart Connect Bike on the Echelon website,

  particularly at this stage in discovery when the parties have completed ESI discovery and

  substantially completed document production. Still further, Echelon objects to this Request to the

  extent it seeks documents protected from disclosure by the attorney-client privilege or work

  product doctrine.
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  REQUEST NO. 313:

  All DOCUMENTS concerning the decision, including all reasons thereof, to phase out the EX-3
  Connect Bike in favor of the GT+ Connect Bike as part of ECHELON’s family of connected bikes,
  as shown here:




  RESPONSE TO REQUEST NO. 313:

         Echelon incorporates by reference its General Objections. Echelon objects to this Request

  as seeking information irrelevant to the claims and defenses in this action, and disproportionate to

  the needs of the case. Echelon also objects to the defined term YOUR as seeking information

  outside od Echelon’s possession, custody, or control. Echelon further objects to this Request as

  overbroad and unduly burdensome insofar as it seeks “All DOCUMENTS” concerning the

  purported decision to phase out the EX-3 Smart Connect Bike, particularly at this stage in

  discovery when the parties have completed ESI discovery and substantially completed document

  production. Echelon additionally objects to this Request as being argumentative; nothing in this

  response should be read as an admission that Echelon decided to “phase out the EX-3 Connect

  Bike in favor of the GT+ Connect Bike.” Still further, Echelon objects to this Request to the extent

  it seeks documents protected from disclosure by the attorney-client privilege or work product

  doctrine.




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  REQUEST NO. 314:

  All DOCUMENTS concerning the decision, including all reasons thereof, to introduce the GT+
  Connect Bike into ECHELON’s family of connected bikes, as shown here:




  RESPONSE TO REQUEST NO. 314:

         Echelon incorporates by reference its General Objections. Echelon objects to this Request

  as seeking information irrelevant to the claims and defenses in this action, and disproportionate to

  the needs of the case. Echelon also objects to the defined term YOUR as seeking information

  outside od Echelon’s possession, custody, or control. Echelon further objects to this Request as

  overbroad and unduly burdensome insofar as it seeks “All DOCUMENTS” concerning Echelon’s

  decision to introduce the GT+ Connect Bike, particularly at this stage in discovery when the parties

  have completed ESI discovery and substantially completed document production. Still further,

  Echelon objects to this Request to the extent it seeks documents protected from disclosure by the

  attorney-client privilege or work product doctrine. Finally, Peloton’s demand for the information

  sought by this Request is contrary to the representations it made in its November 30, 2021 letter

  to the Court, when Peloton opposed extending the discovery schedule on the basis that the

  additional discovery it needed with respect to the new accused products was limited to source code,

  core technical documents concerning rowers and treadmills, and updated financial information.




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  REQUEST NO. 315:

  All DOCUMENTS concerning YOUR business, strategic, financial or marketing plans, forecasts,
  analyses, or reports that relate to the GT+ Connect Bike and/or the GT+ TRADE DRESS.

  RESPONSE TO REQUEST NO. 315:

         Echelon incorporates by reference its General Objections. Echelon objects to this Request

  as overbroad, unduly burdensome, and seeking information irrelevant to the claims and defenses

  in this action and disproportionate to the needs of the case, including, but not limited to, because

  the GT+ TRADE DRESS has not been accused of infringement in this action. Echelon also objects

  to the defined term “GT+ TRADE DRESS” as being vague and ambiguous insofar as it refers to

  the “look and feel” of the bike and references the undefined terms “ECHELON TRADEMARKS”

  and “GT+ mark.” Echelon also objects to the defined term YOUR as seeking information outside

  od Echelon’s possession, custody, or control. Echelon further objects to this Request as overbroad

  and unduly burdensome insofar as it seeks “All DOCUMENTS” concerning the stated subject

  matter, particularly at this stage in discovery when the parties have completed ESI discovery and

  substantially completed document production. Still further, Echelon objects to this Request to the

  extent it seeks documents protected from disclosure by the attorney-client privilege or work

  product doctrine. Finally, Peloton’s demand for the information sought by this Request is contrary

  to the representations it made in its November 30, 2021 letter to the Court, when Peloton opposed

  extending the discovery schedule on the basis that the additional discovery it needed with respect

  to the new accused products was limited to source code, core technical documents concerning

  rowers and treadmills, and updated financial information.

         Subject to the foregoing general and specific objections, Echelon will supplement its

  financial disclosures, at a time agreed-upon by the parties, with information concerning the GT+

  Connect Bikes.

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  REQUEST NO. 316:

  All DOCUMENTS concerning the graphical user interface for the GT+ Connect Bike and/or the
  GT+ TRADE DRESS.

  RESPONSE TO REQUEST NO. 316:

         Echelon incorporates by reference its General Objections. Echelon objects to this Request

  as overbroad, unduly burdensome, and seeking information irrelevant to the claims and defenses

  in this action and disproportionate to the needs of the case, including, but not limited to, because

  the GT+ TRADE DRESS has not been accused of infringement in this action. Echelon also objects

  to the defined term “GT+ TRADE DRESS” as being vague and ambiguous insofar as it refers to

  the “look and feel” of the bike and references the undefined terms “ECHELON TRADEMARKS”

  and “GT+ mark.” Echelon also objects to this Request as unreasonably duplicative and cimulative

  of other Requests covering the graphical user interface for the Echelon Fit App. Echelon further

  objects to this Request as overbroad and unduly burdensome insofar as it seeks “All

  DOCUMENTS” concerning the stated subject matter, particularly at this stage in discovery when

  the parties have completed ESI discovery and substantially completed document production. Still

  further, Echelon objects to this Request to the extent it seeks documents protected from disclosure

  by the attorney-client privilege or work product doctrine. Finally, Peloton’s demand for the

  information sought by this Request is contrary to the representations it made in its November 30,

  2021 letter to the Court, when Peloton opposed extending the discovery schedule on the basis that

  the additional discovery it needed with respect to the new accused products was limited to source

  code, core technical documents concerning rowers and treadmills, and updated financial

  information.




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                           EXHIBIT 2
Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 22 of 61 PageID #: 4266




   From:          Peloton
   Sent:          Tuesday, January 1, 2019 7:04 AM EST
   To:            carolyn@onepeloton.com
   Subject:       Find This Year's Goal




              THIS IS THE BEGINNING
                OF SOMETHING BIG




                                                         PELOTON_ICON-ECHELON_00036393
Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 23 of 61 PageID #: 4267




                New classes. New challenges. New ways to go beyond your best, every single day.



                           What's after your finish line? Find out with the Peloton Bike.




                                                GET THE BIKE




                                                                                            PELOTON_ICON-ECHELON_00036394
Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 24 of 61 PageID #: 4268




                                    Ride now, pay over time.



                           O
                 NO MONEY DOWN
                                                             onan Ohh
                                                          nolo
                                                          FOR 39 MONTHS?                        APR FINANCING




                                            PELOTON MEMBERSHIP SEPARATE




    Financing: Get the Peloton bike for as low as $58/mo over 39-months at 0% APR. Based on a full price of $2,245. Plus the cost of
     the subscription ($39/mo). A class subscription gets you unlimited access to Peloton classes. Financing subject to credit check
     and approval. In cases of partial approval, a down payment may be required. Estimated payment amount excludes taxes. Offer
    subject to change at any time. Previous purchases are ineligible. Affirm loans are made by Cross River Bank, a New Jersey State
                           Chartered Commercial Bank, Member FDIC. See www.affirm.com/faqs for details.




                                   © 2018 Peloton, Peloton Interactive, Inc. All rights reserved.

                                   125 W. 25th St, 11th Fl, New York, NY 10001 United States

                                            Web version     Unsubscribe     Privacy Policy

                                  Terms of Service     Subscription Terms      Join our Community




                                                                                                   PELOTON_ICON-ECHELON_00036395
Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 25 of 61 PageID #: 4269




                            EXHIBIT 3
Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 26 of 61 PageID #: 4270
Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 27 of 61 PageID #: 4271
Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 28 of 61 PageID #: 4272




                           EXHIBIT 4
Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 29 of 61 PageID #: 4273




Document title:                  Indoor Exercise Bike at Home | Echelon Smart Connect Bike EX3 - Echelon Fit US

Capture URL:                     https://echelonfit.com/products/echelon-smart-connect-bike-ex3

Page loaded at (UTC):            Thu, 02 Dec 2021 18:57:34 GMT

Capture timestamp (UTC):         Thu, 02 Dec 2021 18:57:37 GMT

Capture tool:                    2.33.7

Collection server IP:            52.7.109.102

Browser engine:                  Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like
                                 Gecko) Chrome/93.0.4577.0 Safari/537.36

Operating system:                linux x64 (Node v14.17.0)

PDF length:                      11

Capture ID:                      t8rGrkBjSMknDKWVTXn2DE

User:                            pv-leslie




                        PDF REFERENCE #:            7aZJnERDcEN3XeJrs3Gjqy
              Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 30 of 61 PageID #: 4274




Document title: Indoor Exercise Bike at Home | Echelon Smart Connect Bike EX3 - Echelon Fit US
Capture URL: https://echelonfit.com/products/echelon-smart-connect-bike-ex3
Capture timestamp (UTC): Thu, 02 Dec 2021 18:57:37 GMT                                            Page 1 of 10
              Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 31 of 61 PageID #: 4275




Document title: Indoor Exercise Bike at Home | Echelon Smart Connect Bike EX3 - Echelon Fit US
Capture URL: https://echelonfit.com/products/echelon-smart-connect-bike-ex3
Capture timestamp (UTC): Thu, 02 Dec 2021 18:57:37 GMT                                            Page 2 of 10
              Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 32 of 61 PageID #: 4276




Document title: Indoor Exercise Bike at Home | Echelon Smart Connect Bike EX3 - Echelon Fit US
Capture URL: https://echelonfit.com/products/echelon-smart-connect-bike-ex3
Capture timestamp (UTC): Thu, 02 Dec 2021 18:57:37 GMT                                            Page 3 of 10
              Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 33 of 61 PageID #: 4277




Document title: Indoor Exercise Bike at Home | Echelon Smart Connect Bike EX3 - Echelon Fit US
Capture URL: https://echelonfit.com/products/echelon-smart-connect-bike-ex3
Capture timestamp (UTC): Thu, 02 Dec 2021 18:57:37 GMT                                            Page 4 of 10
              Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 34 of 61 PageID #: 4278




Document title: Indoor Exercise Bike at Home | Echelon Smart Connect Bike EX3 - Echelon Fit US
Capture URL: https://echelonfit.com/products/echelon-smart-connect-bike-ex3
Capture timestamp (UTC): Thu, 02 Dec 2021 18:57:37 GMT                                            Page 5 of 10
              Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 35 of 61 PageID #: 4279




Document title: Indoor Exercise Bike at Home | Echelon Smart Connect Bike EX3 - Echelon Fit US
Capture URL: https://echelonfit.com/products/echelon-smart-connect-bike-ex3
Capture timestamp (UTC): Thu, 02 Dec 2021 18:57:37 GMT                                            Page 6 of 10
              Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 36 of 61 PageID #: 4280




Document title: Indoor Exercise Bike at Home | Echelon Smart Connect Bike EX3 - Echelon Fit US
Capture URL: https://echelonfit.com/products/echelon-smart-connect-bike-ex3
Capture timestamp (UTC): Thu, 02 Dec 2021 18:57:37 GMT                                            Page 7 of 10
              Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 37 of 61 PageID #: 4281




Document title: Indoor Exercise Bike at Home | Echelon Smart Connect Bike EX3 - Echelon Fit US
Capture URL: https://echelonfit.com/products/echelon-smart-connect-bike-ex3
Capture timestamp (UTC): Thu, 02 Dec 2021 18:57:37 GMT                                            Page 8 of 10
              Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 38 of 61 PageID #: 4282




Document title: Indoor Exercise Bike at Home | Echelon Smart Connect Bike EX3 - Echelon Fit US
Capture URL: https://echelonfit.com/products/echelon-smart-connect-bike-ex3
Capture timestamp (UTC): Thu, 02 Dec 2021 18:57:37 GMT                                            Page 9 of 10
              Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 39 of 61 PageID #: 4283




Document title: Indoor Exercise Bike at Home | Echelon Smart Connect Bike EX3 - Echelon Fit US
Capture URL: https://echelonfit.com/products/echelon-smart-connect-bike-ex3
Capture timestamp (UTC): Thu, 02 Dec 2021 18:57:37 GMT                                            Page 10 of 10
Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 40 of 61 PageID #: 4284




                           012343567
Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 41 of 61 PageID #: 4285
Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 42 of 61 PageID #: 4286




                           EXHIBIT 6
      Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 43 of 61 PageID #: 4287




From:                                    schladweilerb@gtlaw.com
Sent:                                    Monday, November 15, 2021 10:07 AM
To:                                      Justman, Patrick (SD)
Cc:                                      ryersonj@gtlaw.com; JayD@gtlaw.com; WeiderD@gtlaw.com; blofieldt@gtlaw.com;
                                         #C-M PTON - ECHELON - LW TEAM; mflynn@morrisnichols.com
Subject:                                 RE: Peloton/Echelon - Response to Interrogatory No. 15


Pat –

Thank you for agreeing to supplement Interrogatory No. 15. To the extent Peloton still contends that the
comparison advertisement on Echelon’s website that Peloton saw in Feb. 2019 was somehow different than
the advertisement it allegedly saw in “July or early August 2019”, we request that you provide documents
demonstrating plaintiff’s awareness of the advertisements described in paragraphs 98-103 of the Complaint,
and specifically what that advertisement looked like at the various times Peloton viewed the advertisement. I
note that Peloton attached a portion of that comparison ad to its complaint and you include it as EXAMPLE 1 in
your “Representative Ads” attachment below, so Peloton obviously has possession of such information. We
are not aware of any documents in Peloton’s production showing this advertisement. Even if these documents
are somehow privileged, Echelon’s advertisements shown in such documents are clearly not, and those
documents (including any communications with outside counsel) should be produced in redacted form, to the
extent Peloton intends to maintain its arguments. Please confirm Peloton’s position and whether such
documents will be produced in short order.

As for the representative ads, we do not agree to exhaustively search for and produce all advertisements
contained in “email blasts, radio ads, or hard-copy mailers,” especially since such ads are not accused of false
advertising and are thus (at best) tangentially related to the issues in this case. It is also abundantly obvious
that Peloton has been monitoring/receiving all of Echelon’s “email blasts” and “hard mailers” already. More
importantly, Peloton has failed to produce any “email blasts, radio ads or hard-copy mailers” for the $58/mo. or
$49/mo. ads that are actually accused in this case, and should do so promptly. In sum, we do not agree to
unilateral, burdensome production of documents concerning the parties’ unclean hands defenses. We are
happy to discuss.

Thanks,

Benjamin Schladweiler
Shareholder

Greenberg Traurig, LLP
The Nemours Building | 1007 North Orange Street, Suite 1200 | Wilmington, DE 19801
T +1 302.661.7352
schladweilerb@gtlaw.com | www.gtlaw.com | View GT Biography




From: Patrick.Justman@lw.com <Patrick.Justman@lw.com>
Sent: Friday, November 12, 2021 6:06 PM
To: Schladweiler, Benjamin (Shld-DEL-IP-Tech) <schladweilerb@gtlaw.com>
Cc: Ryerson, James (OfCnsl-NJ-IP-TECH) <ryersonj@gtlaw.com>; Jay, David (Shld-NJ-LT) <JayD@gtlaw.com>; Weider,
Douglas R. (Shld-NJ-IP-Tech) <WeiderD@gtlaw.com>; Blofield, Tiffany A. (Shld-MSP-IP-Tech) <blofieldt@gtlaw.com>;
PTON.ECHELON.LWTEAM@lw.com; mflynn@morrisnichols.com
Subject: RE: Peloton/Echelon - Response to Interrogatory No. 15
                                                                       1
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Ben,

We are amendable to supplementing Interrogatory No. 15, and will aim to do so by November 19, 2021.

As for the representative ads issue, I’d like to further explore your request that we help you figure out a targeted way to
pull these various ads without having to engage in an exhaustive ESI collection/review. We understand that Echelon
advertises on social media (e.g., Facebook, YouTube, etc.), its website, and radio, as well as through direct email blasts
and hard-copy mailers. To the extent not already produced and in the spirt of compromise, we can find the publicly
available posts on social media and various websites ourselves. We, however, would not necessarily have access to the
email blasts, radio ads, or hard-copy mailers (all of which we take issue with, as shown in the attached). I would imagine
that pulling the hard-copy mailers and radio scripts could be done with relative ease, but please confirm. As for the
email blasts, we understand that those would all originate from a generic, automated email address (e.g.,
marketing@echelonfit.com). As such, it should be relatively easy to search that email box for the phrase “as low as,”
which we note is used by Echelon in nearly all of its price based advertisements. Please let us know your thoughts on
this possible path forward, or if you prefer to discuss.

Best,

Patrick C. Justman

LATHAM & WATKINS LLP
12670 High Bluff Drive | San Diego, CA 92130
T: +1.858.523.5448 | patrick.justman@lw.com | he/him/his



From: Justman, Patrick (SD) <Patrick.Justman@lw.com>
Sent: Wednesday, November 03, 2021 11:37 AM
To: schladweilerb@gtlaw.com
Cc: ryersonj@gtlaw.com; JayD@gtlaw.com; WeiderD@gtlaw.com; blofieldt@gtlaw.com; #C-M PTON - ECHELON - LW
TEAM <PTON.ECHELON.LWTEAM@lw.com>; mflynn@morrisnichols.com
Subject: RE: Peloton/Echelon - Response to Interrogatory No. 15

Ben,

We are still considering the issue and we’ll follow up shortly with our position, likely next week.

Best,
Pat



From: schladweilerb@gtlaw.com <schladweilerb@gtlaw.com>
Sent: Wednesday, November 03, 2021 7:16 AM
To: Justman, Patrick (SD) <Patrick.Justman@lw.com>
Cc: ryersonj@gtlaw.com; JayD@gtlaw.com; WeiderD@gtlaw.com; blofieldt@gtlaw.com; #C-M PTON - ECHELON - LW
TEAM <PTON.ECHELON.LWTEAM@lw.com>; mflynn@morrisnichols.com
Subject: RE: Peloton/Echelon - Response to Interrogatory No. 15

Pat –

Please let us know whether you have reconsidered your position on Interrogatory No. 15 by COB tomorrow. Happy to
discuss as part of our scheduled meet and confer tomorrow on depos.

                                                              2
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Thanks,

Benjamin Schladweiler
Shareholder

Greenberg Traurig, LLP
The Nemours Building | 1007 North Orange Street, Suite 1200 | Wilmington, DE 19801
T +1 302.661.7352
schladweilerb@gtlaw.com | www.gtlaw.com | View GT Biography




From: Patrick.Justman@lw.com <Patrick.Justman@lw.com>
Sent: Tuesday, October 19, 2021 7:00 PM
To: Schladweiler, Benjamin (Shld-DEL-IP-Tech) <schladweilerb@gtlaw.com>
Cc: Ryerson, James (OfCnsl-NJ-IP-TECH) <ryersonj@gtlaw.com>; Jay, David (Shld-NJ-LT) <JayD@gtlaw.com>; Weider,
Douglas R. (Shld-NJ-IP-Tech) <WeiderD@gtlaw.com>; Blofield, Tiffany A. (Shld-MSP-IP-Tech) <blofieldt@gtlaw.com>;
PTON.ECHELON.LWTEAM@lw.com; mflynn@morrisnichols.com
Subject: RE: Peloton/Echelon - Response to Interrogatory No. 15

Ben,

Let’s connect on Friday to discuss (1) Interrogatory No. 15; (2) the representative ad issue; (3) Echelon’s production of
the competitor / Affirm documents; and (4) Peloton’s production of delivery/capacity and board documents. How about
10 am PT / 1 pm ET? Unfortunately, Thursday has now been consumed with other matters.

Thanks,

Patrick C. Justman

LATHAM & WATKINS LLP
12670 High Bluff Drive | San Diego, CA 92130
T: +1.858.523.5448 | patrick.justman@lw.com | he/him/his


From: schladweilerb@gtlaw.com <schladweilerb@gtlaw.com>
Sent: Tuesday, October 19, 2021 12:33 PM
To: Justman, Patrick (SD) <Patrick.Justman@lw.com>
Cc: ryersonj@gtlaw.com; JayD@gtlaw.com; WeiderD@gtlaw.com; blofieldt@gtlaw.com; #C-M PTON - ECHELON - LW
TEAM <PTON.ECHELON.LWTEAM@lw.com>
Subject: RE: Peloton/Echelon - Response to Interrogatory No. 15

Pat –

I don’t understand your point. Steve’s email references the comparison on “Echelon’s website” and contains a link to
that comparison. Interrogatory No. 15 asks for Peloton’s first knowledge about this website comparison, and it is
obvious that Peloton knew about that comparison in February 2019, when Steve sent a link of that comparison to Mr.
Lentine. Further proof of Peloton’s knowledge in February 2019 is contained in Peloton’s own production. See, e.g.,
PELOTON_ECHELON000009836. Happy to discuss, but this seems pretty straightforward.

Please let us know if you can meet and confer this Thursday. We also expect at that time that you will be able to give us
a straight answer to our question about whether Peloton will be producing the delivery/capacity documents you
promised us months ago on Oct. 29. If you are unable to give us a straight answer to that very simple question when we
talk, we will raise the issue with the Court. I don’t see why we have to wait another ten days – in addition to the 5

                                                                       3
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months you have already had to “investigate” – to get a straight answer, especially given the current fact discovery
deadline.

We look forward to your response.

Thanks,

Benjamin Schladweiler
Shareholder

Greenberg Traurig, LLP
The Nemours Building | 1007 North Orange Street, Suite 1200 | Wilmington, DE 19801
T +1 302.661.7352
schladweilerb@gtlaw.com | www.gtlaw.com | View GT Biography




From: Patrick.Justman@lw.com <Patrick.Justman@lw.com>
Sent: Tuesday, October 19, 2021 12:58 PM
To: Schladweiler, Benjamin (Shld-DEL-IP-Tech) <schladweilerb@gtlaw.com>
Cc: Ryerson, James (OfCnsl-NJ-IP-TECH) <ryersonj@gtlaw.com>; Jay, David (Shld-NJ-LT) <JayD@gtlaw.com>; Weider,
Douglas R. (Shld-NJ-IP-Tech) <WeiderD@gtlaw.com>; Blofield, Tiffany A. (Shld-MSP-IP-Tech) <blofieldt@gtlaw.com>;
PTON.ECHELON.LWTEAM@lw.com
Subject: RE: Peloton/Echelon - Response to Interrogatory No. 15

Ben – Perhaps we should discuss, because it appears that you are misunderstanding the correspondence here. While
Steve identified an image on Echelon’s website that was inaccurate because it had the “weight holders incorrectly
installed upside down,” this appears to be the same image that had been posted to Facebook and was the subject of
Steve’s original letter. Here’s the image from the letter:




And here’s an image that shows the weight holders correctly installed on Peloton’s bike:




                                                                       4
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Indeed, Steve’s email was following up on the prior correspondence regarding his original letter, thus confirming the
reference was to this improper image, not some other unrelated issue.

If you have a different understanding of the relevant email chain, please advise and then we can arrange a time to
discuss.

Best,
Pat

From: schladweilerb@gtlaw.com <schladweilerb@gtlaw.com>
Sent: Tuesday, October 19, 2021 9:33 AM
To: Justman, Patrick (SD) <Patrick.Justman@lw.com>
Cc: ryersonj@gtlaw.com; JayD@gtlaw.com; WeiderD@gtlaw.com; blofieldt@gtlaw.com; #C-M PTON - ECHELON - LW
TEAM <PTON.ECHELON.LWTEAM@lw.com>
Subject: RE: Peloton/Echelon - Response to Interrogatory No. 15

Pat – It would have been nice to know your position prior to Oct. 15. In any event, your assertion is wrong. As Steve
explained in EFM00296 below, this link is to a comparison “on Echelon’s website,” not Facebook page. Please confirm
immediately that you will supplement this interrogatory by the end of the week.




                                                            5
       Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 48 of 61 PageID #: 4292




From: Patrick.Justman@lw.com <Patrick.Justman@lw.com>
Sent: Tuesday, October 19, 2021 12:12 PM
To: Schladweiler, Benjamin (Shld-DEL-IP-Tech) <schladweilerb@gtlaw.com>
Cc: Ryerson, James (OfCnsl-NJ-IP-TECH) <ryersonj@gtlaw.com>; Jay, David (Shld-NJ-LT) <JayD@gtlaw.com>; Weider,
Douglas R. (Shld-NJ-IP-Tech) <WeiderD@gtlaw.com>; Blofield, Tiffany A. (Shld-MSP-IP-Tech) <blofieldt@gtlaw.com>;
PTON.ECHELON.LWTEAM@lw.com
Subject: Peloton/Echelon - Response to Interrogatory No. 15

*EXTERNAL TO GT*

Ben,

We will not be supplementing our response to this Interrogatory as our current response is accurate, as further explained
below. Please let us know if you prefer to discuss or continue to take issue with our prior response.

More specifically, you requested that:

         Peloton also supplement its response to Interrogatory No. 15 by October 15. Specifically, in its first supplemental
         response, Peloton asserts that it first learned of the advertisement shown in paragraphs 98-103 of Peloton’s
         Second Amended Complaint in “late July or early August 2019.” But the evidence shows Peloton knew about this
         ad sooner as shown in the February 22, 2019 email between Feldman and Lentine produced at EFM00000296-
         297. Please supplement this response accordingly to provide the exact date Peloton (or its outside counsel)
         became aware of this ad.


                                                              6
        Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 49 of 61 PageID #: 4293
The ad addressed in this cease and desist letter (i.e., EFM00000296-297) was this Facebook ad:




That ad is addressed in paragraph 104 of the SAC, not 103 as you state. Thus, our current response, which states as
follows, is accurate:

          With respect to the specific advertisement referenced in Paragraphs 104-107 of the Complaint, Peloton learned of
          these statements through outside counsel on February 21, 2019. The contents of those discussions are
          privileged.

Best,

Patrick C. Justman

LATHAM & WATKINS LLP
12670 High Bluff Drive | San Diego, CA 92130
T: +1.858.523.5448 | patrick.justman@lw.com | he/him/his

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                                                              7
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                           EXHIBIT 7
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Document title:                  Echelon GT+ Connect Bike - Echelon Fit US

Capture URL:                     https://echelonfit.com/collections/connected-products/products/echelon-gt?
                                 variant=41129447391431

Page loaded at (UTC):            Thu, 02 Dec 2021 17:48:24 GMT

Capture timestamp (UTC):         Thu, 02 Dec 2021 17:48:26 GMT

Capture tool:                    2.33.7

Collection server IP:            54.175.14.236

Browser engine:                  Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like
                                 Gecko) Chrome/93.0.4577.0 Safari/537.36

Operating system:                linux x64 (Node v14.17.0)

PDF length:                      9

Capture ID:                      o8PxEYja32pBYTLz3Wb7Vn

User:                            pv-leslie




                        PDF REFERENCE #:            tp8LreRHDJTWT91qshNTby
              Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 52 of 61 PageID #: 4296




Document title: Echelon GT+ Connect Bike - Echelon Fit US
Capture URL: https://echelonfit.com/collections/connected-products/products/echelon-gt?variant=41129447391431
Capture timestamp (UTC): Thu, 02 Dec 2021 17:48:26 GMT                                                          Page 1 of 8
              Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 53 of 61 PageID #: 4297




Document title: Echelon GT+ Connect Bike - Echelon Fit US
Capture URL: https://echelonfit.com/collections/connected-products/products/echelon-gt?variant=41129447391431
Capture timestamp (UTC): Thu, 02 Dec 2021 17:48:26 GMT                                                          Page 2 of 8
              Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 54 of 61 PageID #: 4298




Document title: Echelon GT+ Connect Bike - Echelon Fit US
Capture URL: https://echelonfit.com/collections/connected-products/products/echelon-gt?variant=41129447391431
Capture timestamp (UTC): Thu, 02 Dec 2021 17:48:26 GMT                                                          Page 3 of 8
              Case 1:19-cv-01903-RGA Document 250-1 Filed 01/12/22 Page 55 of 61 PageID #: 4299




Document title: Echelon GT+ Connect Bike - Echelon Fit US
Capture URL: https://echelonfit.com/collections/connected-products/products/echelon-gt?variant=41129447391431
Capture timestamp (UTC): Thu, 02 Dec 2021 17:48:26 GMT                                                          Page 4 of 8
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Document title: Echelon GT+ Connect Bike - Echelon Fit US
Capture URL: https://echelonfit.com/collections/connected-products/products/echelon-gt?variant=41129447391431
Capture timestamp (UTC): Thu, 02 Dec 2021 17:48:26 GMT                                                          Page 5 of 8
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Document title: Echelon GT+ Connect Bike - Echelon Fit US
Capture URL: https://echelonfit.com/collections/connected-products/products/echelon-gt?variant=41129447391431
Capture timestamp (UTC): Thu, 02 Dec 2021 17:48:26 GMT                                                          Page 6 of 8
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Document title: Echelon GT+ Connect Bike - Echelon Fit US
Capture URL: https://echelonfit.com/collections/connected-products/products/echelon-gt?variant=41129447391431
Capture timestamp (UTC): Thu, 02 Dec 2021 17:48:26 GMT                                                          Page 7 of 8
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Document title: Echelon GT+ Connect Bike - Echelon Fit US
Capture URL: https://echelonfit.com/collections/connected-products/products/echelon-gt?variant=41129447391431
Capture timestamp (UTC): Thu, 02 Dec 2021 17:48:26 GMT                                                          Page 8 of 8
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                           EXHIBIT 8
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  Old Logo:




  New Logo:
